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                                 RECORD NO. 21-3094

                 ORAL ARGUMENT HAS NOT YET BEEN SCHEDULED

                                            In The
      United States Court of Appeals
                     For The District of Columbia Circuit



                  UNITED STATES OF AMERICA,
                                                                         Plaintiff - Appellee,


                                                 v.




         LAMONT JOHNSON, Also Known as Black,
                                                                         Defendant - Appellant.



   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF COLUMBIA

                              BRIEF OF APPELLANT




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    (Appointed Under the Criminal Justice Act)
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           Certificate to Parties, Rulings Under Review and Related Parties

     Appellant certifies as follows:

     (A)     Parties and Amici. The individuals who appeared before the District
             Court in the criminal proceedings were Lamont Johnson, Antoine J.
             Prailow, Jamar Gage, Antonio N Tabron, Eric Scott, Jahi Marshall,
             Brionta Turner and Anthony Gamble.

             The following parties are before the Court: Lamont Johnson and the
             United States of America.

     (B)     Rulings Under Review:

             The Court is asked to review the District Court’s unreported
             sentencing decision.

     (C)     Related Cases: To our knowledge, there were no related cases before
             the District Court and are none before this Court.

     (D)     Related Parties: To our knowledge, there are no related Parties before
             the Court.

                                             /s/ Stephen C. Leckar
                                             Stephen C. Leckar




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                    Oral Argument- Not Yet Scheduled
                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                   No. 21-3094

                       UNITED STATES OF AMERICA,
                                           Appellee,

                                         v.

                             LAMONT JOHNSON,
                                          Appellant.

          APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

                          APPELLANT’S MAIN BRIEF

                             Jurisdictional Statement

      A jury found Appellant guilty of conspiracy to distribute and possess with

the intent to distribute PCP and the substantive offense (21 U.S.C. §§ 841(a)(1);

841(b)(1)(A)(iv), 846); possessing as a convicted felon a firearm and ammunition

(18 U.S.C. § 922(g)(1)); and possessing a firearm in furtherance of a drug

trafficking offense (18 U.S.C. § 924(c)(1)). He was sentenced to 420 months

imprisonment—a life sentence for a 45-year-old non-Hispanic Black male1—and



1
    D.C. Department of Health, DISTRICT OF COLUMBIA COMMUNITY HEALTH NEEDS
ASSESSMENT p. ix (Feb. 28, 2014) (available at
https://dchealth.dc.gov/sites/default/files/dc/sites/doh/page_content/attachments/D
C%20DOH%20CHNA%20%28v5%200%29%2005%2007%202014%20-
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sixty-months supervised release. A Notice of Appeal was timely filed. 2

Jurisdiction is invoked under 28 U.S.C. § 1291.

                             Statement of the Issues

      Those errors we identify are:

      1. [Base Offense Level]. The Government never proved that Mr. Johnson

was involved with at least three kilograms of PCP. Was his Sentencing Guidelines

Base Offense Level 32 overstated?

      2. [Aggravated Role Adjustment]. Mr. Johnson was an independent

operator who was neither affiliated with nor a member of any criminal enterprise.

Was his three-level Manager-Supervisor Role Adjustment to the Base Offense

Level justifiable?

      3. [Credible Threat of Violence Adjustment]. Mr. Johnson’s comments

about injuring others were offhanded expressions of frustration couched in the

argot of someone with a tenth-grade education. Those to whom he addressed his

remarks never treated them seriously. Was his two-level upwards sentencing

adjustment error?




2
    (App:870).

                                        2
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              Constitutional Provisions, Statutes and Regulations

      Applicable Constitutional provisions, statutes, and Sentencing Guidelines

appear in the Addendum.

                   Concise Statement of the Case and Facts3

      The government indicted Mr. Johnson and others for engaging in a narcotics

distribution conspiracy operating around Good Hope Rd, SW. It contended that

between 2014-2017 Jahi Marshall (“Marshall”) headed an eponymous Drug

Trafficking Organization, marketing retail-sized and larger drug quantities. No

“insiders” testified. Agents presented wiretaps, photographs, and films proving

overwhelming evidence of Marshall’s scheme. The problem? Marshall and his

accomplices were not on trial. Lamont Johnson was. And the evidence against

him was that he was an independent merchant.

      In July 2017, several months after being permitted to wiretap, the

Government first learned of Mr. Johnson. Agents overheard conversations

between him and Jamar Gage (“Gage”), whom they knew was supplying Marshall.

The investigators believed Mr. Johnson had just made one and possibly two PCP

sales to Gage and thought he had an association with the Marshall operation.




3
    This section serves as an overview. Pertinent facts appear in each legal
argument. Citations to wiretapped communications are from transcripts used at
trial. (App:602-633).

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      Continued bugging revealed Mr. Johnson complaining constantly about

lacking any supply and that he and Antoine Prailow (“Prailow”) were seeking a

gallon of PCP from “Slim,” a West Coast dealer. Once it arrived in mid-October

Mr. Johnson was arrested. A search of his car pursuant to a warrant yielded 1.4KG

of PCP (12% pure), bottles, an AR-15 rifle in a bag, and ammunition.

      Mr. Johnson’s sentencing was unreliable. The finding that he’d arranged to

deal between 3-10 Kilograms of PCP, the ambit of Guidelines Level 32, is

unfounded and excessive. The Role Adjustment is flawed because he wasn’t in

Marshall’s group and controlled nobody. And the adjustment for making credible

threats of violence in narcotics dealings is meritless. His listeners plainly didn’t

consider his statements to be genuine and he took no steps suggesting otherwise.

                              Summary of Arguments

      1. Mr. Johnson’s Base Offense Level of 32 was artificially inflated.

Following a three-year investigation, in March 2017 the Government was

permitted to wiretap Marshall. Next it obtained permission to wiretap Gage, after

he was overheard communicating with Marshall. In late July the agents

intercepted Gage seemingly arranging to purchase PCP from someone whom they

later determined was Mr. Johnson. Although their coded communications were

abstruse, Gage seemingly bought 16 oz.—if that much—from Mr. Johnson.




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      In August wiretapping on Mr. Johnson’s telephone was authorized. The

interceptions disclosed that his contraband stock was almost nonexistent, and he

fretted near-incessantly of being unable to meet his car note, rent, and expenses.

      Around September the agents deduced that he and Prailow had arranged to

import PCP from the West Coast. When it arrived in mid-October, Appellant was

arrested, and the PCP shipment and his weapon were seized.

      There was no basis to hold Mr. Johnson responsible for trafficking between

three-ten KG of PCP. He was an autonomous actor who’d recently returned to the

trade and his transactions were scattered. Including the July sale to Gage and the

October shipment from Slim, his U.S.S.G. § 2D1.1 Base Offense Level should

have been a 30, covering PCP dealings between one-three KG.

      2. Adding a three-level manager-supervisor adjustment under U.S.S.G.

§ 3B1.1 was correspondingly misplaced. This alteration requires being in a

hierarchy. However, the Trial Judge never identified Mr. Johnson’s “Leader.”

And nothing shows him as belonging to any criminal enterprise, let alone

controlling at least one of five or more “participants”—associates with mens rea.

He never interacted with Marshall and never told anyone where to sell drugs, what

quantities they could sell or what prices to charge. His short-lived venture with

Prailow likewise lacked any characteristics of management or supervision.




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      The Government made much ado of a telephone call between Mr. Johnson

and his estranged wife, which occurred as he was leaving their apartment to live

with his girlfriend and their baby. It successfully (albeit incorrectly) argued that

telling her to bring his rifle and some bottles down to their car manifested control.

But again, he was an independent actor and there weren’t the five-or-more

participants necessary to trigger this “bump.” Although his wife’s help perhaps

facilitated his conduct it didn’t manifest his control over her.

      3. The Trial Court likewise erroneously imposed a two-level upwards

adjustment under U.S.S.G. § 2D1.1(b)(2) for making three credible threats of

violence.

      Those instances unmistakably reflected an uneducated man’s speech and

were borne of frustration. No participant reacted as if Mr. Johnson really was

seeking to injure anyone. Indeed, when he and his wife were revisiting the last of

these events, she laughed about it. The District Court overlooked those

countervailing considerations and focused on Appellant’s conviction for Assault

with a Deadly Weapon (“ADW”), which arose from a 2001 confrontation with a

romantic rival. The District Judge’s using that conviction to conclude that

statements made in 2017 were threats was a fig leaf for unreliable propensity

evidence.




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                                    Argument

I.    Mr. Johnson’s Base Offense Level is unsustainable.

      The Government’s exaggerated conspiracy theory against Mr. Johnson led to

his being over-sentenced. Its wiretap applications depicted the so-called Marshall

Drug Trafficking Organization (“DTO”) as a significant enterprise, reselling drugs

to many mid-level local suppliers while maintaining a retail presence. The

prosecution asserted that Mr. Johnson was a significant PCP supplier to the

Marshal group.

      Scrutinizing the wiretap applications, the prosecution case’s structure, the

trial record, and the Probation Office’s conclusory findings yields a far more

nuanced reality. Mr. Johnson was an independent trader who made a small-sized

deal late in July 2017 with one of Marshall’s suppliers and then shared in buying

1.4KG of “Slim’s” PCP that October. However, the District Judge mistakenly

sentenced Mr. Johnson for trafficking in a far greater quantity of PCP.

      We first contrast how the Government’s wiretap applications described the

Marshall coterie and how the trial revealed it as largely a neighborhood crew

retailing drugs. We then explain that Mr. Johnson was not supplying them,

although the record discloses those who were by 2017, when the investigation

gained momentum. Next, we turn to late July 2017, after Mr. Johnson had

returned from “retirement” (his words) to drug dealing, seeking income while


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starting a trucking business. The agents overheard Gage, Marshall’s boon

companion and supplier, speaking with Mr. Johnson. They thought that Mr.

Johnson had made two (if that) PCP sales of unknown purity to Gage, totaling 24

oz. or so. Their coded talk, never interpreted by a cooperator, is incapable of a

responsible reconciliation, much less one supporting that number.

      Once the agents secured permission to wiretap Mr. Johnson’s cellphone,

they quickly learned that he lacked PCP, was constantly grousing about financial

stress, and was seeking replenishment from the West Coast, where much PCP

originates. When it arrived, he was accosted with 1.4 KG of a mixture that was

12% pure. This prosecution, which included several Marshall group members

(who pleaded guilty), followed.

      The judge’s quantity calculation was must-have-been speculation which

erroneously consigned Mr. Johnson to Base Offense Level 32.

      A.     The Government’s depiction of the Marshall DTO was inflated.

      The Government’s diminishing description of the Marshall DTO is a useful

kick-off point. Beginning in March 2017, after nearly a three-year investigation, it

was permitted to wiretap Marshall. It represented that he oversaw a sixty-person

group dubbed the “Choppa City Crew” and “Cruddy Bang Family.” Gage’s crew




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allegedly offered a retail smorgasbord around Good Hope Rd, while wholesaling

regionally to “many” unnamed “mid-level drug dealers.” 4

      The wiretap applications identified two of Marshall’s suppliers: Eric Scott,

who was apprehended in May 2017, and Gage. 5 Gage also supplied Antonio

Tabron (“Tabron”), whom they’d overheard on intercepts and considered a

“redistributor.”6

      Marshall’s operation seems more of a corner crew. Over 2.5 of the five trial

days, the prosecution focused on Marshall and several cohorts’ retail sales.7 An

inter-agency investigation began in June 2014 and utilized pole cameras, visual

surveillance, “controlled buys,” and traffic stops. Abundant proof appears of the

group’s selling 1 and 2-oz bottles of PCP, PCP-laced cigarette “dippers,” crack,




4
   (App:72, 77, 84-86); (App:112, 115-116, 125-127); (App:154, 157-158, 167-
169).
5
    (App:86-87, 96-97); (App:127). See also (App:349, 577-578).
6
   (App:127, 252). Although the Government claimed Tabron also supplied
Marshall, those dealings presumably didn’t involve Gage, who wouldn’t have
needed a middleman. “While … people involved with [drugs] might not be very
bright, we don’t believe we can assume they are necessarily stupid, especially in
matters of finance.” United States v. Robinson, 164 F.3d 1068, 1070-1071 (7th Cir.
1999).
7
   (App:206-222, 225-249, 250-251, 254-257, 258-293, 296-323, 352-403, 412-
434).

                                         9
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heroin, and Fentanyl around Good Hope Rd. There is scant evidence of it

supplying “mid-level” dealers. 8

       In any event, tagging Mr. Johnson with Marshall’s taint was inexplicable.

He was never seen around Good Hope Road. A pen register and real-time

surveillance of Marshall’s phone and interactions with Gage yielded no trace of

Mr. Johnson. 9 And nobody observed or overheard him with Tabron.10

       At the Rule 29 conference, the District Court questioned the conspiracy

case’s premises and found that they justified a buyer-seller jury instruction.11

       B.    Mr. Johnson came to the agents’ attention in July of 2017.

       About seven months into the wiretapping, 12 some July 26th intercepts on

Gage’s phone piqued the agents’ interest. They gathered that Tabron and his

brother had just bought 8 ounces of PCP elsewhere but were considering a 16-oz.

deal with Gage. They thought Gage possibly had sold Tabron as much the day


8
   (App:238-246, 264-293, 296-323, 436-440, 581). The “buys” occurred in April
and July-September. (App:369-372, 378-379, 393-402, 415-416, 436-436).
9
   (App:223-231, 236-237, 333-349, 490, 581-582). See also (App:134-135);
App:178-181, 191-192). GPS monitoring never placed Mr. Johnson near Gage.
(App:346-347).
10
   (App:223-231, 236-237, 333-349, 490). See also (App:134-135); App:170-
181).
11
     (App:599-601).
12
     (App:236-237).

                                          10
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before, although the veiled wiretap intercepts don’t confirm it. Gage intimated

having a possible source for a deal. He telephoned a theretofore unknown number

(described in a wiretap application as “TT3”) and spoke with someone whom the

agents ultimately concluded was Mr. Johnson. The investigators believed they

discussed an 8-oz. purchase—but here again, the participants’ talk is murky, and

nobody witnessed any delivery.13

       Thinking themselves homing in on Gage and Marshall’s supplier—a

mistake—the agents secured new wiretap authorizations. Surveillance and

bugging revealed that Mr. Johnson and his wife rented a spartan one-bedroom

apartment on Hayes St., NE, and that he was a commercial truck driver seeking

employment (which he secured in September) with but $700 in the bank that

month. 14

       Eavesdropping on Mr. Johnson never yielded mention of Marshall or his

crew.15




13
    (App:127-133; 324-330). The prior day, a “buy” secured two ½-oz bottles of
PCP from Tabron, whose source was uncertain. The agents realized that Tabron
had other suppliers. (App:131-132, 133-134).
14
    (App:170, 332, 441, 453, 472-484, 489-499, 571). Photographs of the
apartment’s search confirm its modest nature. (App:773-777).
15
     (App:128, 130; 170-178; 639-641, 652-655, 660-772).

                                        11
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       C.     Mr. Johnson’s access to PCP was limited before October 2017.

       The wiretaps did establish to a fare-thee-well that Mr. Johnson worried all

summer over covering quotidian expenses and forestalling eviction.16

       Those exigencies are traceable. He’d worked for the D.C. Government as a

truck driver between May 2014-March 2017, when he founded a trucking

company. As he confided in late August to Mr. Prailow, he’d been “retired” and

“chilling” until Slim had reached out; “[m]y only thing for jumping back in this

shit is to grab my truck.” 17

       Aside from the July 26th-27th oblique interaction with Gage—suggesting a

16-oz sale (and intimating but never confirming a subsequent 8-oz. transaction) of

PCP 18—Mr. Johnson’s cupboard was thin to nonexistent. 19 Data extraction from

his cellphone disclosed he’d gone so far as to examine how to create PCP.20




16
   (App:170-172, 173; 445, 448-449, 452 & 663-670); (App:440-447 & 673-674,
687-689); (App:448-454 & 727-730).
17
     (App.663-670); see also (App:570-571; 881, 924-925).
18
     PCP, once here, is adulterated to increase retail sales. (App:592-595)
19
     (App:170-174, 177-178; 673-674, 687-689, 722-723).
20
     (App:357-365, 560-569).

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       Later that summer Mr. Johnson appeared on a pen register and was

overheard speaking with Prailow,21 whom the Government characterized as a co-

investor in the deal with Slim.22 Prailow had no connection to Gage.23

       Once Slim’s shipment arrived, the agents secured search and arrest warrants.

In Mr. Johnson’s apartment were funnels, vials, and a bottle of gasoline treatment.

They seized from his car 1.4 KG of PCP (at 12% pure, 160 grams,), a weapon, and

PCP-associated paraphernalia.24 They recovered no cash or jewelry; his car was

repossessed, and his lender wrote off the $8500.00 note. 25

       Two days later, Prailow fled from officers patrolling a “hot spot”

neighborhood. He was apprehended with a weapon, $692.00 and a 62-gram

mixture that was 4% pure PCP—2.67 grams. The government didn’t empirically

associate that with what was seized from Mr. Johnson.26




21
     (App:170-172, 178-181; 663-670, 685-686, 687-689, 724-726).
22
     (App:522-523).
23
     (App:572, 576, 580).
24
     (App:403-409, 464-475, 483-488, 500, 509-519, 524-527).
25
     (App:925, 926).
26
     (App:528-546, 547-557, 584, 596-598)


                                         13
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       Marshall’s crew remained operating for another four-five months. 27

       D.    Sentencing

       Mr. Johnson’s Base Offense Level was set at a 32, by finding him

responsible for at least 3 kilograms of PCP.28 This conclusion resulted from

unsupported statements and misconceptions, beginning with the PSR:

       1.    The PSR stated that “[o]n one occasion in July 2017, Jamar
             Gage and Antonio Tabron together acquired 32 ounces of PCP
             from Lamont Johnson. On another occasion, on July 26, 2017,
             Mr. Tabron negotiated with Jamar Gage to acquire another 16
             ounces of PCP from Lamont Johnson. He informed Mr. Gage
             he could acquire 16 ounces of PCP from another supplier for
             $2,400 or $2,600 and he could buy eight ounces from Lamont
             Johnson. He also said if defendant Johnson had the same
             quality PCP as the previous occasion, he would acquire 16
             ounces from him.”29 However, the “one [prior] occasion in
             July” is an enigma—the PSR lacks support for any sale, leaving
             aside 32 ounces, by Mr. Johnson before July 26th.

       2.    “On July 28, 2017, after not hearing from Mr. Gage in a timely
             manner, Antonio Tabron informed Mr. Gage he was prepared to
             purchase 16 ounces of PCP from defendant Johnson but that he
             had bought eight ounces from his other supplier. On that
             occasion, he ordered eight ounces of PCP from Mr. Gage for
             $1,300 USD. One minute after this conversation, Jamar Gage
             called Lamont Johnson to make the purchase arrangements,
             then contacted Antonio Tabron to arrange the logistics.”30 This

27
     (App:882-883).
28
     (App:881, 890, 892); App:808, 809, 811).
29
     (App:890).
30
     (App:890).


                                        14
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             8-oz. sale by Mr. Johnson is unsubstantiated by the wiretaps’
             roundabout speech (or by surveillance);31 nothing shows such
             an agreement as struck or consummated.

       3.    “On September 8, 2017[,] at 5:48 pm, law enforcement
             intercepted Jamar Gage via a wiretap on Lamont Johnson’s
             phone in which . . . Johnson advised Mr. Gage he was “hurting
             like shit” because his money was tied up in the gallon of PCP
             he was waiting to receive from the west coast.”32

       4.    Inside Mr. Johnson’s car trunk was “was approximately one
             kilogram of PCP…. A DEA chemist determined that the
             substance was PCP weighing 1,429 grams and a sample of the
             suspected PCP had a purity level of 12% (resulting in 100
             grams or more of actual PCP).”33

       Somehow the Probation Office conjured 40 oz. (evidently assuming 32 oz.

plus 8 oz.) of sales of unknown purity made in July, and added the seized 1.4 KG

of 12% pure, to surmise somehow that “Johnson conspired to distribute and

possess with the intent to distribute at least three kilograms, and potentially up to

ten kilograms, of a mixture and substance of PCP; and at least 300 grams of actual

PCP.” 34 This unrealistic conclusion is mathematically unsupported.

       Mr. Johnson contended that his PCP dealings were about 2 KG of detectable

PCP and less than 300 grams of actual PCP and that his Base Offense Level should


31
     (App:649-655).
32
     (App:890).
33
     (App:892).
34
     (App:892).

                                          15
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be at 30 or less.35 After argument,36 the District Judge chose Level 32—after

mistakenly dwelling over sentencing ranges that require jury findings—and then

strayed from the record:

       THE COURT: And I think [AUSA] Mr. Eliopoulos is discussing that
       based on his argument that they had to have the mandatory
       requirement in there to get to the mandatory minimum sentence
       required in the jury form, and the jury form found -- you must answer
       the following questions: The amount of PCP the defendant possessed
       -- and I’m reading from the form -- one kilogram or more of a mixture
       containing a detectable amount of PCP. Proven. 100 grams or more of
       actual PCP. And that was repeated twice. So I think under that
       authority, my original conclusion I had was that the jury had to find
       300 grams -- no, 300 kilos -- I’m sorry, three kilos or more -- or 300
       grams or more of the PCP beyond a reasonable doubt is incorrect
       based upon reading of that case. It had not been brought to my
       attention previously. But it seems to me that’s in line with the
       Graham case, which I said has the inverse but still applicable rule,
       that Alleyne has not been strictly followed as to giving the sentence
       that’s within the statutory framework and did not exceed the statutory
       framework of these counts. So I’m going to find that the two
       kilograms, or 200 grams, quantity can be used to indicate, based upon
       the facts before the Court, that there were 3 kilograms, or 300 grams,
       in evidence, because of the multiple discussions of gallons of PCP
       throughout the entire case. There’s no question that he discussed
       multiple times knowing the gallons and other quantities of PCP are far
       in excess of the two kilograms that the jury returned a verdict of. The
       jury simply said there was two or more without a definition.

       Mr. Eliopoulos. MR. ELIOPOULOS: They said one or more, Your
       Honor.

       THE COURT: Oh, the jury said one or more, I’m sorry.


35
     (App:783, 852).
36
     (App:828-861).

                                         16
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       MR. ELIOPOULOS: Right.

       THE COURT: He said -- I was thinking two or more. You’re right.
       I’m just reading a different scenario as I had in my mind here. I think
       you can find that there were three or more kilograms based upon the
       evidence in the case without a question of the discussions of Mr.
       Johnson in his own words as to what he was doing. So I believe that
       the three kilograms apply in this case and the threat of violence
       applies and manager or supervisor applies.

                                           ***

       THE COURT: All right. Thank you. We’re back in court after the
       short break. I finished the last hearing after substantially having
       reviewed the Guidelines sentencing requirements and made a the
       ruling, results in a base offense level of -- I find there are three kilos, a
       32…. 37

       The jury only found one kilogram or more of a mixture containing a

detectable amount of PCP and 100 grams or more of actual PCP.38 No ledgers

were seized, no insiders testified and no wiretapping corroborates Mr. Johnson

discussing “gallons” of PCP on “multiple occasions”—or ever. 39 The bugging

indicated one sale in late July of sixteen ounces of PCP of unknown purity,




37
     (App:854-856, 860-861).
38
     (App:778-780).
39
    The Government’s expert testified that PCP wholesaled at $32,000-$35,000
per gallon delivered locally. (App:587-595). No evidence shows Mr. Johnson
having funding for multiple gallons.

                                            17
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followed by two months without a supply, followed by the 1.4 KG mixture seized

in October—well under Level 32’s three-kilogram threshold.40

       E.    Appellate review of federal sentencings

       After outlining the standards of review, Mr. Johnson addresses the law’s

demand that sentencings correctly resolve material factual and legal disputes. He

then explains the weaknesses infecting his sentence.

             1.     Standards of review

       Guidelines sentences are reviewed for reasonableness 41 to “ensur[e] both

that the District Court did not commit a ‘significant procedural error’ and that the

sentence is substantively reasonable.” 42 Procedural errors include “failing to

calculate (or improperly calculating) the Guidelines range, treating the Guidelines

as mandatory, failing to consider the [18 U.S.C.] § 3553(a) factors, selecting a

sentence based on clearly erroneous facts, or failing to adequately explain the

chosen sentence.” 43



40
    Even if Mr. Johnson had made a second sale in late July to Gage—which is
denied—that wouldn’t have approached Level 32’s brink.
41
     United States v. Flores, 995 F.3d 214, 219 (D.C. Cir. 2021) (cleaned up).
42
   United States v. Settles, 530 F.3d 920, 923 (D.C. Cir. 2008) (citation omitted)).
Accord United States v. (Frederick) Miller, 890 F.3d 317, 324 (D.C. Cir. 2018)
(“Miller I”), appeal after remand, 35 F.4th 807 (D.C. Cir. 2022) (“Miller II”).
43
     Gall v. United States, 552 U.S. 38, 51 (2007); Miller I, 890 F.3d at 324.

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       Review is de novo for questions of law and clear error for factual findings,

giving “‘due deference’ to the district court’s application of the Guidelines to

facts.”44 “A finding is ‘clearly erroneous’ when … the reviewing court … is left

with the definite and firm conviction that a mistake has been committed.”45

       Because fact-finding results from a process, an intermediate issue has

significance. “Drug quantity is an important integer in the sentencing calculus for

most controlled substance offenses.”46 “[R]elatively small differences in the

quantity or kind of drugs involved in an offense may dramatically alter a

defendant’s prison term....” 47 This potential for prejudicial error requires de novo

review of the methodology used to set narcotics offenders’ Base Offense Levels. 48




44
    United States v. Bagcho, 923 F.3d 1131, 1138 (D.C. Cir. 2019) (remanding)
(cleaned up).
45
     Miller II, 35 F.4th at 817 (cleaned up).
46
     United States v. Giggey, 867 F.3d 236, 238-39 (1st Cir. 2017) (cleaned up).
47
     United States v. Ruiz, 446 F.3d 762, 773 (8th Cir. 2006) (cleaned up).
48
    Giggey, 867 F.3d at 240; United States v. Bennett, 554 Fed. App’x 817, 821n.3
(11th Cir. 2014); United States v. Flores, 725 F.3d 1028, 1035 (9th Cir. 2013);
United States v. Smith, 705 F.3d 1268, 1274 (10th Cir. 2013); United States v.
Hardin, 437 F.3d 463, 471 (5th Cir. 2006); United States v. Wright, 42 F.3d 1387,
*3 (4th Cir. 1994) (unpublished) (“proper method of calculating drug weight is a
legal question subject to de novo review…”).

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             2.    There is a corresponding right to be sentenced based on reliable
                   facts.

      The Constitution and Sentencing Guidelines alike demand that sentences be

based on reliable evidence.49 A PSR must be free of “‘[b]ald conclusionary

statements.’” 50 Factual findings must be tethered to the record,51 not “based only

on unsubstantiated allegations.”52 Guidelines sentences also “‘must be supported

by reasons,’” meaning “‘something more than conclusions—a distinction

important not only to the defendant whose future is at stake but also to the

appellate process.’”53


49
    United States v. Tucker, 404 U.S. 443, 447 (1972) (Constitution); United States
v. Colón-Maldonado, 953 F.3d 1, 9-10 (1st Cir. 2020) (Constitution and
Guidelines; remanding); United States v. Bradley, 628 F.3d 394, 400 (7th Cir.
2010) (Constitution; remanding for undue speculation).
50
     United States v. Lujan, 25 F.4th 324, 329 n.14 (5th Cir. 2022) (remanding
erroneous quantity calculation) (citing United States v. Elwood, 999 F.2d 814, 817-
18 (5th Cir. 1993) (AUSA’s unsworn assertions not “by themselves, a sufficiently
reliable basis on which to sentence the defendant.”)).
51
    United States v. Helding, 948 F.3d 864, 870-872 (7th Cir. 2020) (government-
endorsed calculation of drug quantity vague); United States v. Rowe, 919 F.3d 752,
762-763 (3d Cir. 2019) (PSR’s drug weight conclusions unsupported); United
States v. Harrison, 743 F.3d 760, 764-765 (10th Cir. 2014) (same).
52
    United States v. Freeman, 763 F.3d 322, 337 (3d Cir. 2014) (PSR’s conclusory
assertions of drug weight were error); United States v. Shacklett, 921 F.2d 580, 584
(5th Cir. 1991) (sentencing court incorrectly endorsed probation office’s
“conclusory statement” regarding drug quantity).
53
    United States v. McCants, 434 F.3d 557, 562 (D.C. Cir. 2006) (remanding)
(cleaned up).

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       3.    Relevant conduct

       “‘Under the Sentencing Guidelines, a district court determines a defendant’s

sentencing range by calculating the defendant’s base offense level. A base offense

level, in turn, is derived from a defendant’s ‘relevant conduct.’ For drug offenses,

‘relevant conduct’ includes the quantity of drugs involved in the offense.’” 54

       In conspiracy prosecutions “the amount of drugs attributable to any one

codefendant as ‘relevant conduct’ . . . is limited to the reasonably foreseeable

transactions in furtherance of that codefendant’s ‘jointly undertaken criminal

activity’. . . .” 55 Trial judges “must make particularized findings about both the

scope of the agreement that the defendant entered into and the basis on which it

finds the amount of drugs reasonably foreseeable to that individual defendant.”56

“[A] jury verdict “does not address the question of which specific actions

demonstrated at trial were in furtherance of that single conspiracy or were

foreseeable to the conspirators. And it is only these actions that may form the

predicate for … sentences.” 57


54
   Miller I, 890 F.3d at 329 (quoting United States v. Burnett, 827 F.3d 1108,
1120 (D.C. Cir. 2016) (remanding)).
55
     United States v. Wyche, 741 F.3d 1284, 1292 (D.C. Cir. 2014) (cleaned up).
56
    United States v. Childress, 58 F.3d 693, 722 (D.C. Cir. 1995). Accord United
States Stover, 329 F.3d 859, 874 (D.C. Cir. 2003).
57
     Childress, 58 F.3d at 722-23.

                                          21
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       F.    Appellate decisions remanding unfounded drug quantity assumptions

       Sentencing cannot be based “on speculation or hypothesis.”58 Using

assumptions and extrapolations to sentence narcotics offenders portends risk:

           When drug quantities are calculated based on a few key data
       points, they are particularly vulnerable to error. For instance, the
       court might misjudge the street price of the drug when converting
       cash to drug weight or overestimate the capacity of a drug-
       manufacturing defendant’s laboratory. Alternatively, the court might
       receive bad evidence on the number of drug sales a trafficker typically
       made, or the quantity of drugs sold in each transaction. In each of
       these cases, a minor mistake would be multiplied into an enormous
       miscalculation – a phenomenon described as the “pyramiding [of]
       unreliable inferences.” Accordingly, even when they satisfy the
       preponderance-of-the-evidence standard of proof, drug quantity
       estimates based on inference and extrapolation will “inherently
       possess a degree of uncertainty.” 59

       Such fraught consequences are well-known. Take this Court’s Stover

opinion. The conspiracy prosecution showed the defendants traded in 79% pure

heroin. The Trial Judge concluded the heroin was diluted fourfold for street sale.

However, the seized street-level heroin was 27-29% pure, meaning that it was only

multiplied by approximately 2.8. The sentences were remanded for a lower

calculation of the quantity for which each appellant bore responsibility.60



58
     United States v. Moore, 666 F.3d 313, 322 (4th Cir. 2012).
59
    Jacob Schuman, Probability and Punishment: How to Improve Sentencing by
Taking Account of Probability, 18 NEW CRIM. L. REV. 214, 248 (2015) (cleaned up).
60
     Stover, 329 F.3d at 871-873.

                                         22
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       Stover is no outlier. The sentence vacated in United States v. Marquez

reflected a “dramatic leveraging effect” from unreliable factfinding and

extrapolating from a garbled coded call. The First Circuit characterized the

resulting Base Offense Level as not “based on a known quantity or readily

calculable number of transactions involving clearly established or conservatively

estimated quantities.” 61 And in United States v. Shonubi, the Second Circuit twice

reversed heroin trafficking sentences derived from faulty assumptions.62

       Likewise, the Third and Seventh Circuits require that “a district court cannot

simply select a number without at least some description of the reliable evidence

used to support the findings and the method used to calculate it.” Each court has

vacated infirm quantity calculations. 63

       The Fourth Circuit’s opinion in United States v. Bell 64 further speaks to the

concern here. In remanding a Oxycodone conspiracy sentence, the court stated:



61
    699 F.3d 556, 561-562 (1st Cir. 2012). See also United States v. Sepulveda. 15
F.3d 1161, 1197 (1st Cir.1993) (rejecting arbitrary midpoint to determine
quantity).
62
    998 F.2d 84, 89-90 (2d Cir. 1993), appeal after remand, 103 F.3d 1085, 1092-
97 (2d Cir. 1997).
63
    United States v. Freeman, 763 F.3d 322, 339 (3d Cir. 2014) (citing United
States v. Claybrooks, 729 F.3d 699, 707 (7th Cir. 2013)); United States v. Garrett,
757 F.3d 560, 573 (7th Cir. 2014) (same).
64
     667 F.3d 431 (4th Cir. 2011).

                                           23
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“Notably, however, apart from its Guidelines calculation, in every case,

‘[r]egardless of whether the district court imposes an above, below, or within-

Guidelines sentence, it must place on the record an ‘individualized assessment’

based on the particular facts of the case before it.”65 Moreover, “[t]he explanation

must be sufficient to allow for ‘meaningful appellate review,’ such that the

appellate court need ‘not guess at the district court’s rationale.’” 66 Yet there was

“no explanation in the record of any of several underlying factual findings, at least

some of which would have been necessary to reach the 700-kilogram number” that

mistakenly undergirded the sentence.67

       The Fifth Circuit addressed this conundrum in United States v. Lujan. The

police seized $10,694. The district court converted that sum into a quantity of

methamphetamine, assuming those funds would have been spent buying drugs for

resale. This assumption overlooked the defendant’s living expenses.68




65
     Id., 667 F.3d at 442 (cleaned up).
66
     Id., 667 F.3d at 442 (cleaned up).
67
    Bell, 667 F.3d at 445-446. See also United States v. Lopez, 219 F.3d 343, 348-
349 (4th Cir. 2000) (quantity calculation rested on conflicting testimony).
68
     Lujan, 22 F.4th at 328-329.

                                          24
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       In United States v. Baro,69 the Sixth Circuit held that “where, as here, the

district court’s determination of the quantity of cocaine involved results in a two-

level increase in the base offense level, the sentencing judge may not, without

further findings, simply sentence a defendant based on conjecture,” particularly

“before reaching a conclusion which increased the appellants’ potential term of

incarceration by at least forty-seven months….”70 A sentence should be based

“‘only for that quantity of drugs for which the defendant is more likely than not

actually responsible.’” 71

       A recent Eighth Circuit decision, United States v. Sarchett, 72 concluded that

the district court had endorsed vague (and sometimes) contradictory claims. The

Base Offense Level’s resulting over-optimistic doubling proved harmful error. 73




69
     15 F.3d 563 (6th Cir. 1994).
70
    Baro, 15 F.3d at 569. See also United States v. Russell, 156 F.3d 687, 690 (6th
Cir. 1998) (remanding); United States v. Gibbs, 182 F.3d 408, 441-442 (6th Cir.
1999) (probation officer’s quantity calculations were faulty).
71
    United States v. Milledge, 109 F.3d 312, 316, 317 (6th Cir. 1997) (cleaned up)
(remanding). See also United States v. Woodside, 642 F. App’x 490, 496 (6th Cir.
2016) (“absence in the record of the numbers the district court used renders its
methodology totally opaque”).
72
     3 F.4th 1115 (8th Cir. 2021).
73
     3 F.4th at 1116-1120.

                                          25
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       Ninth Circuit caselaw is equally informative. In United States v. Culps, the

sentencing judge estimated 60,250 transactions, based on nine “controlled buys,”

which was statistically and legally unreliable.74 Subsequently, in United States v.

Kilby,75 the district court estimated sales of tablets of dissimilar sizes and weights.

That one-size-fits-all approximation was disavowed. 76 Subsequently, the appellate

court found lacking in another prosecution any “reliable evidentiary basis for any

of the pivotal assumptions in the drug quantity approximation.”77

       Similar issues invalidated the sentence in United States v. Forrester.78

Although the lower court’s failure to make explicit quantity findings caused a

remand, the appellate court added that “when there are two ‘equally good

measures’ for making a calculation under the guidelines, a court must select the

one ‘bringing the less punishment[.]’”79




74
     300 F.3d 1069, 1076 (9th Cir. 2002).
75
     443 F.3d 1135 (9th Cir. 2006).
76
     Kilby, 443 F.3d at 1141-42.
77
     United States v. Chase, 499 F.3d 1061, 1068-1070 (9th Cir. 2007).
78
     616 F.3d 929 (9th Cir. 2010).
79
     Id. at 949 (cleaned up).

                                           26
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       The Tenth Circuit remanded a thirty-year sentence for methamphetamine

manufacturing in United States v. Harrison. 80 There “[s]ome of the evidence

indicates Defendant’s involvement with methamphetamine but is unhelpful with

respect to quantities;” “[o]ther trial evidence did speak of quantities but the

quantities were not precise and extrapolation would be required to reach the 1.5

kilograms of methamphetamine necessary to support the offense level stated in the

PSR.” 81 Reversible error also impacted United States v. Aragon, 82 where

photographs and estimates failed to account for the packaging. In remanding, the

Tenth Circuit observed that “‘the “need to estimate drug quantities at times is not a

license to calculate drug quantities by guesswork” but “[g]uesswork seems an apt

description of the district court’s half-a-gram figure here.”“83




80
     743 F.3d 760 (10th Cir. 2014).
81
     743 F.3d at 764, 765.
82
     922 F.3d 1102 (10th Cir. 2019).
83
     922 F.3d at 1112 (cleaned up).


                                          27
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         Eleventh Circuit precedent is to the same effect. In United States v. Butler, 84

a sentencing decision was overturned for assuming that one day’s cocaine

transactions sufficed to calculate overall sales during a conspiracy. 85

         G.    Mr. Johnson’s Base Offense Level was mistaken.

         Applying principles distilled from these decisions confirms that Appellant’s

sentencing should have “err[ed] on the side of caution, using only reliable or

conservative estimates.” 86

         Although the Trial Judge was familiar with the PSR, 87 as defense counsel

rightly contended, the Probation Office misread the record.88 First, it assumed that

Mr. Johnson had struck a 32-oz deal with Gage prior to July 26th, although Gage’s

ambiguous coded calls to Mr. Johnson don’t confirm that. Second, the PSR’s

assertion that Mr. Johnson had been seeking “gallons” of PCP was unsupported. 89

Third, the District Judge concluded—with no reference (and none exist)—that Mr.



84
       41 F.3d 1435 (11th Cir. 1995).
85
       Id. at 1446-1447.
86
       Cf., United States v. Beltran-Leyva, 916 F.3d 14, 30 (D.C. Cir. 2016) (cleaned
up).
87
       (App:822).
88
       (App:851-852).
89
       See, e.g., Freeman, 763 F.3d at 337.

                                              28
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Johnson had discussed obtaining “gallons.” That he was distraught all summer

over his inability to pay basic bills demonstrates he was no rarified player in the

trade. 90

       Also absent was any explanation why Mr. Johnson’s urging a Level 30 was

off the mark given his few transactions. What was seized is a matter of record: a

mixture of 1.4KG, 12% pure—just over 100 grams. Even if one also assumed that

he had made one or even two transactions late in July with Gage—of an

unestablished amount of unknown purity—the total still wouldn’t meet Level 32’s

3 Kilogram threshold.

       The Trial Judge’s guesswork perhaps was influenced by the presence of

callers, whose identity and relationships weren’t established, overheard contacting

Mr. Johnson and seemingly seeking drugs. Those inquiries’ texts reveal

themselves to be chatter; “‘[e]xploratory and inconclusive’ or ‘preliminary’

discussions and negotiations are not sufficient to establish an agreement.”91

       Relying on unwarranted speculation was prejudicial. Before other

adjustments and the mandatory add-on for a felon-in-possession conviction, Mr.



90
    United States v. Carter, 449 F.3d 1287, 1298-99 (D.C. Cir. 2006) (remanding)
(cleaned up). See also United States v. Brown, 892 F.3d 385, 405-406 (D.C. Cir.
2018).
91
    United States v. Ienacco, 893 F.2d 394, 397-398 (D.C. Cir. 1990) (reversing
narcotics conspiracy conviction) (cleaned up).

                                          29
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Johnson’s Level 32 advisory sentencing range was between 188-235 months for a

Criminal History V offender versus the 151-188 months recommended for Level

30 counterparts.92 The unreliable quantity finding violates the Constitution and

Guidelines and should be rejected.93

       H.    Not harmless error

       When error appears, “‘a remand is appropriate unless the reviewing court

concludes, on the record as a whole, … that the error did not affect the district

court’s selection of the sentence imposed.’” 94 Should the Government respond that

the error in calculating Mr. Johnson’s Base Offense Level (and adjustments

discussed below) is harmless, it must establish that the District Court would

reimpose the sentence on remand.95 Nothing in the sentencing colloquy would

confirm that claim.




92
    2021 Sentencing Table (available at https://www.ussc.gov/guidelines/2021-
guidelines-manual/annotated-2021-chapter-5) (last accessed August 6, 2022); See
also (App:909) (PSR calculation of Criminal History)
93
    See, e.g., Lujan, 22 F.4th at 328-329; Aragon, 922 F.3d at 1112; Harrison, 743
F.3d at 764, 765; Marquez; 699 F.3d at 561-562; Bell, 667 F.3d at 445-446; Stover,
329 F.3d at 871-873; Baro, 15 F.3d at 569.
94
     United States v. Kpodi, 824 F.3d 122, 129 (D.C. Cir. 2016) (cleaned up).
95
    United States v. McIlwain, 931 F.3d 1176, 1185 (D.C. Cir. 2019); United
States v. Ayers, 795 F.3d 168, 175-76 (D.C. Cir. 2015).

                                          30
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II.      The role enhancement also should be remanded.

         The District Judge also erroneously credited the Government’s claims and

ratcheted Mr. Johnson’s offense level by 3 points for being a manager-

supervisor.”96 Yet the court never identified the putative organizer-leader whom

Mr. Johnson supposedly served. In truth, he was nobody’s “manager” or

“supervisor” and held no position of control in any enterprise having at least five

“participants.”

         Comparing reality to the prosecutor’s claims proves the point. If Mr.

Johnson could find stock, he’d buy it from whomever offered it and sell what he

could to customers. There is no proof of his controlling a supplier or how goods

were transported to him. And nothing shows him dictating where his customers

sold, to whom they sold or the prices they charged. It takes far more to transform

buyer-seller dealings, even for drugs being resold, into a role adjustment.

         Because the District Court adopted the prosecutor’s claims, we first review

the grounds used to justify the adjustment. Next, we examine the relationships

which the prosecutor mentioned and demonstrate that Johnson lacked authority

over those people. To dispel any doubt, an inter-circuit canvass marking factors

identified in overturning role adjustments in conspiracy prosecutions confirms our

claim.


96
      U.S.S.G. § 3B1.1.

                                           31
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       A.     Background

       The parties disputed any role adjustment. 97 At sentencing the Trial Judge

initially recognized that “in the concept of control or authority is implicit [] the

notion of management or supervision, some sort of hierarchical relationship in the

sense that an employer is superior to his employees.”98 In that respect, the District

Judge got it right. He erred by failing to compare the prosecutor’s contentions with

criteria used by the courts. 99




97
     Compare (App:813-814) (Government recommendation) with (App:784-786)
(Johnson recommendation). The PSR’s brief justification for the role adjustment
lacked clarity. (App:894). It described Mr. Johnson as a “direct supplier” to
Prailow, Gage and Tabron, although he didn’t sell to Tabron and selling drugs
alone lacks significance, as discussed below. Then the PSR lumped in Marshall
and three of his cronies, without saying how Mr. Johnson oversaw them—not that
it could. Finally, it cited one Eric Scott as a supplier and manager, but failed to
link him to Mr. Johnson—unsurprising since Scott was arrested in May 2017,
months before anybody overheard Mr. Johnson. The PSR, then, is akin to its
unilluminating precursor criticized in United States v. Medina, 167 F.3d 77, 80 (1st
Cir. 1999) (citing United States v. Graham, 162 F.3d 1180 (D.C. Cir. 1998)).
98
     (App:829) (referring to Graham).
99
     (App:846).

                                           32
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       At sentencing, the prosecutor dwelled on Mr. Johnson’s sometimes-strained

relationship with his wife, and focused on his telephone calls to bring his bottles

and weapon from their apartment to his car. 100 Next the prosecutor asserted that

Mr. Johnson had “structured” how Gage, Tabron and Prailow would get drugs

from him (the example proffered was Mr. Johnson’s telling Gage not to bring

people with him); then baldly claimed he had “dictated” the prices for his wares

and how Prailow would get his share of the West Coast shipmen. 101 Capping this

peroration, the prosecutor described as “dictating” a text message in which Mr.

Johnson remonstrated with someone inquiring about “bottles.”102

       Defense counsel responded that Karen Johnson wasn’t expressly complicit

in her husband’s activities, and that Mr. Johnson should get no adjustment (or at

most a two-level bump) because, in Guidelines parlance, five or more

“participants” weren’t involved. Referring to Section 3B.1.1’s alternative

qualifying language, counsel emphasized that Mr. Johnson’s underlying activities

were “not extensive.” 103


100
      (App:835-836).
101
    (App:837-838). The prosecutor added that Mr. Johnson had used a firearm to
collect his proceeds. Id. at 837. The record doesn’t support that. Moreover, as
discussed below, simply carrying a firearm during a drug deal isn’t leadership.
102
      (App:838-839).
103
      (App:839-841).

                                         33
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       The prosecutor responded by insisting that there were more than five

participants, and that the activity was extensive. He referred to “West Coast

suppliers” (there’s only reference to “Slim”), tossed in “Shorty” (apparently

someone owing Mr. Johnson $2800),104 and invoked the specter of Marshall and

his crew.105

       After adopting the Government’s reasons, the Trial Court added that Mr.

Johnson “had some effect over the[] control and operation” of “other individuals

he talked with, Mr. Tabron, Mr. Gage, Mr. Prailow about the drugs—and Mr.

Prailow, he wanted to deliver the gallon as he instructed him.”106 Also, the Trial

Judge referred to “his wife storing the drugs and the gun and getting it from her,”

the “text message telling people how to use code to describe the drugs,” and his

“multiple conversations with many of the other individuals who were convicted in

the case about supplying the drugs and getting the drugs and when he would get

them.” 107




104
     Mr. Johnson received an adjustment for making a credible threat of violence
behind “Shorty’s” back. That issue is discussed at Part III, infra. Of relevance
here is that Shorty was just a debtor.
105
      (App:841-842).
106
      (App:847-848).
107
      (App:847-848).

                                         34
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      B.    What the record showed

      Examining Mr. Johnson’s actual relationships undercuts this adjustment.

      ● Supplier. Mr. Johnson never shared in Slim’s (or anyone’s) profits

      or oversaw delivery.

      ● Co-venturer. Mr. Johnson didn’t share in Prailow’s profits, tell him

      where to sell, whom to sell to, or what price to charge for Prailow’s

      share of Slim’s delivery. Nor did the Government claim that Mr.

      Johnson recruited Prailow.

      ● Purchasers. Mr. Johnson didn’t share in anyone’s profits, tell

      anyone where to sell, whom to sell to, or what price to charge for their

      (few) PCP purchases from him, or recruit anyone. Tabron was Gage’s

      client and “Shorty” presents as a debtor.108

      ● Retail trade. Despite a three-year-plus investigation, there’s no

      evidence of Mr. Johnson having a hierarchical position in Marshall’s

      group, much less dictating or overseeing its dealings.




108
   The prosecution portrayed Mr. Johnson as a PCP vendor. (App:810-812).
Whatever contraband—assuming that’s what Shorty bought from him—is
unknown.

                                         35
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       ● Prospects. That Mr. Johnson was overheard telling someone not to

       broadcast about seeking “bottles” doesn’t establish “control” as

       defined by the law.

       ● Estranged wife. It requires more than simply knowing that Mr.

       Johnson had PCP and packaging in the apartment to make his wife a

       participant. Nor is there evidence of control: urging her to place his

       weapon, cooler and bottles in his car is as consistent with his moving

       from their apartment as anything. Although he had influence in their

       relationship and she may have helped facilitate his committing some

       offense, that wouldn’t justify a 3-level role adjustment.

       This “bump” was as erroneous as the Base Offense Level.

       C.    Discussion

       The Guidelines permit an increased offense level: “If the defendant was a

manager or supervisor (but not an organizer or leader) and the criminal activity

involved five or more participants or was otherwise extensive, increase by 3

levels....” 109 Some courts have utilized the Guidelines’ Application Notes in

considering this adjustment. These include:




109
      U.S.S.G. § 3B1.1(b).

                                          36
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      the exercise of decision-making authority, the nature of participation
      in the commission of the offense, the recruitment of accomplices, the
      claimed right to a larger share of the fruits of the crime, the degree of
      participation in planning or organizing the offense, the nature and
      scope of the illegal activity, and the degree of control and authority
      exercised over others. 110

      No one factor is dispositive. 111 But “[t]he Guidelines do not define the terms

‘manager’ or ‘supervisor,’ so we apply their common meanings.” 112 In

undertaking the analysis, caution is in order: “[i]f a judge, a probation officer, a

lawyer, even a defendant, doesn’t know what a ‘manager’ or ‘supervisor’ is,

Application Note 4 isn’t going to help him-especially since it’s about organizers

and leaders and not middle managers and low-level supervisors[.] Thus…’a

manager or supervisor should be straightforwardly understood as simply someone

who helps manage or supervise a criminal scheme.’”113

       Mr. Johnson’s adjustment flunks any test.




110
    United States v. Olejiya, 754 F.3d 986, 990 (D.C. Cir. 2014) (quoting
U.S.S.G. § 3B1.1(b). cmt. n. 4.
111
    Graham, 162 F.3d at 1185 (reversing; factors are relevant to any potential role
enhancement). See also United States v. Cameron, 573 F.3d 179, 184 n.3 (4th Cir.
2009).
112
    United States v. Burnley, 988 F.3d 184, 188 (4th Cir. 2021) (cleaned up)
(remanding).
113
     United States v. Weaver, 716 F.3d 439, 443 (7th Cir 2013) (emphasis original)
(cleaned up).

                                          37
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             1.     Standard of review.

       On review of a leadership enhancement, “‘[p]urely legal questions are

reviewed de novo; factual findings are to be affirmed unless clearly erroneous; and

we are to give due deference to the [D]istrict [C]ourt’s application of the

[sentencing] guidelines to facts. Due deference ‘presumably falls somewhere

between de novo and clearly erroneous.’” 114

             2.     Inter-circuit analysis

        The Government’s portrait of Mr. Johnson as an influential force within a

cohesive group was distorted and out of synch with caselaw.

        As this Court has stated, the § 3B1.1 adjustment contemplates “‘the concept

of “control” or “authority,” …to connote some sort of hierarchical relationship, in

the sense that an employer is hierarchically superior to his employee.’”115 The

Fourth Circuit concurred with this Circuit’s perspective in rejecting as plain error a

manager-supervisor increase in United States v. Slade, a drug conspiracy case. 116

Slade had sold and/or delivered cocaine to his clientele and co-conspirators, who

then sold the drugs to their clientele. Some cohorts sold cocaine “for” him on

various occasions, and an unindicted co-conspirator drove him around to deliver


114
      United States v. Vega, 826 F.3d 514, 538 (D.C. Cir. 2016) (cleaned up).
115
      United States v. Quigley, 373 F.3d 133, 139-140 (D.C. Cir. 2004).
116
      631 F.3d 185 (4th Cir. 2011).

                                             38
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crack to his clients. That did not reflect supervisory responsibility; Slade neither

controlled anyone’s behavior nor directed the terms of their sales. 117

        Here nothing showed Mr. Johnson controlling Prailow and Gage—or

Tabron (whom Mr. Johnson didn’t deal with), or Shorty.

        Further confirmation of the faulty role adjustment comes from three

Seventh Circuit decisions. Reversing a role adjustment, United States v.

Mustread118 held that “by itself, being a distributor, even a large distributor [], is

not enough to support a § 3B1.1 offense level increase *** [and] that Mustread

‘exercised total decision-making authority over his marijuana purchases’ cannot,

by itself, support the conclusion that Mustread played an aggravated role.”119

        Subsequently, in United States v. Weaver, the defendant “fronted”

methamphetamine, urging buyers to sell it quickly to pay him. Essentially

rejecting precursors of themes regurgitated here, the Seventh Circuit deemed it of

no moment that defendant had been cautious and budged little on price, delivery

location, and quantity, sometimes keeping his customers waiting and not honoring



117
     Slade, 631 F.3d at 189-192. See also United States v. Sayles, 296 F.3d 219,
224-25 (4th Cir.2002) (reversing; “being a buyer and seller of illegal drugs, even in
league with more than five or more other persons, does not establish that a
defendant has functioned as an ‘organizer, leader, manager or supervisor’”).
118
      42 F.3d 1097 (7th Cir. 1994).
119
      Id. at 1194 (cleaned up).

                                           39
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their requests for specific delivery times. He, like Mr. Johnson, did not tell them

what price to charge, impose territorial limits on sales, or set distribution quotas.120

        The third Seventh Circuit holding also disposes of the prosecutor’s unsworn

(and unsupported) statement that Mr. Johnson’s using a firearm to collect drug

debts could support a role enhancement. However, there was no evidence that he’d

done that. In recognizing that § 3B1.1 demands evidence of such factors as

recruitment, a larger share of an organization’s profits and dictating venues and

resale pricing, United States v. Bell explained that “[t]he mere possession of a

firearm during the course of criminal activity, however, does not evidence a

leadership or organizational role.” 121

        The First Circuit’s views in United States v. Castellone122 also bear

reference. There the Government argued the appellant had determined who

purchased his marijuana, when and where sales occurred, and the prices and his

profit—as it theorized here. Rejecting that analogy, the court of appeals

emphasized that those are characteristic of any independent street-level dealer, who

requires a customer, a time and location for the sale, and a price. The profit


120
      Weaver, 716 F.3d at 443-445 (citing cases). See also United States v. Vargas,
16 F.3d 155, 160 (7th Cir. 1994) (“Supplying drugs and negotiating the terms of
their sale do not by themselves justify a § 3B1.1 increase ….”).
121
      28 F.3d 615, 618 (7th Cir. 1994).
122
      985 F.2d 21 (1st Cir 1993).

                                          40
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defendant made was his alone. And nothing suggested that Castellone controlled

his supplier (or anyone else).123

        Another relevant multi-seller conspiracy prosecution is the Third Circuit

opinion in United States v. Belletiere. 124 The defendant sold cocaine to Craig, who

used some and sold some to others, including Mishinski, without direction from

Belletiere. Mishinski also received packages from Belletiere at Craig’s request.

Craig also sold cocaine to Yurkovic, who sometimes purchased directly from

Belletiere. And Forte purchased drugs from Belletiere with the DeAngelo

brothers. 125 None were led, organized by, or answerable to Belletiere. And

nothing showed any links beyond his individual sales to these dealers. 126

        Two Sixth Circuit decisions also presage the prosecutor’s exaggerated

claims below. Recall that Gage called Mr. Johnson several times seeking to buy




123
      985 F.2d at 26. See also United States v. Al-Rikabi, 606 F.3d 11 (1st Cir
2010) (remanding 3B.1.1 adjustment; government offered no proof that appellant’s
customer was subservient to him or subject to his authority. If anything, she acted
as a free agent, dealing with defendant as any street-level seller would deal with a
source of supply.).
124
      971 F.2d 961 (3d Cir. 1992).
125
      Belletiere, 971 F.2d at 971-972.
126
      Id .at 972.


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PCP. In United States v. Gibson,127 one defendant had provided cocaine in two of

the transactions listed in the indictment, but these sales were solicited by a co-

conspirator, suggesting that the co-conspirator exercised control over their

dealings. The evidence with respect to the second defendant was similarly

deficient: he neither initiated any transactions nor exercised control over anyone.

That the appellants were paid for their drugs didn’t distinguish them from most

buyers and sellers.128

        The Tenth Circuit rebuffed a role adjustment where the defendant supplied

drugs but no sellers worked for him, he paid nobody for their efforts on behalf of

the conspiracy, didn’t restrict those to whom other conspirators could sell their

drugs, and didn’t control the manner of sales, or set prices. Although he (unlike

Mr. Johnson) possessed large sums of money, the government did not show how

the conspiracy’s profits were divided, or that defendant received a larger share of

the profits. 129

        The foregoing decisions’ reasoning proves that basing Mr. Johnson’s

organizational adjustment on Gage, Prailow, and Tabron plainly was mistaken.




127
      985 F.2d 860 (6th Cir. 1993).
128
      Id., 985 F.2d at 866-867.
129
      United States v. Anderson, 189 F.3d at 1201 (10th Cir. 1999).

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        Nor could the Marshall crew’s presence justify a role adjustment, even if

the Government had linked Mr. Johnson to it—which it didn’t. The Sixth Circuit

addressed a representative cocaine conspiracy prosecution. One conspirator

received cocaine from the appellant, which then was distributed to others for

further distribution. However, the appellant’s lack of connection with the third tier

of sellers required remanding his leadership bump.130

        Similar circumstances sundered a role adjustment in United States v.

Rodriguez-Lopez. 131 The Fifth Circuit found “no evidence that Barron recruited

others to join the Cavazos organization conspiracy, and there is no evidence that

Barron exercised control over others involved with the conspiracy *** and no

evidence that Barron was involved in planning the operations of the Cavazos

organization conspiracy.” 132

        No difference exists here: Mr. Johnson didn’t oversee the Marshall crew,

recruit for it, tell its members what to sell, where to sell, or share in its profits.

        Looking up the line, the Trial Judge should have rejected as a back-up

justification Mr. Prailow’s co-investing in the ill-fated October purchase. That

decision conflated control over property, not of another participant. In United


130
      United States v. Garcia, 19 F.3d 1123, 1125 (6th Cir. 1994).
131
      756 F.3d 422 (5th Cir. 2014).
132
      Id., 756 F.3d at 435.

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States v. Holden, 133 the appellant and another organized a fraud scheme employing

a joint venture agreement. Reversing an “organizer” adjustment, the Ninth Circuit

recognized that each had contributed to the fraud and agreed to share in its profits.

Appellant had “facilitated” the offense but did not exercise “organizational

control” over his coconspirator. 134

       Slim’s presence is meaningless. Nothing indicates that Mr. Johnson

oversaw delivery 135 or controlled him.136

        The prosecutor’s remaining rationalizations, beginning with Mr. Johnson’s

urging an unknown prospect not to mention “bottles” when texting for PCP, add




133
      908 F.3d 395 (9th Cir 2018).
134
     908 F.3d at 401-403. See also United States v. Logan, 121 F.3d 1172, 1179
(8th Cir. 1997) (remanding; no agreement to share profits); United States v.
Ronning, 47 F.3d 710, 712 (5th Cir. 1995) (remanding; “Applying a plain-meaning
approach to ‘leader’ and ‘organizer,’ we note that their definitions relate to
supervision of people only.”).
135
    Vargas, 16 F.3d at 160; United States v. Thompson, 944 F.2d 1331 (7th Cir.
1991) (reversing; no evidence defendant had controlled couriers from Los Angeles
to Milwaukee).
136
     Castellone, 985 F.2d at 26. Cf., United States v. Colon, 919 F.3d 510, 518-
519 (7th Cir. 2019) (“role adjustment is appropriate for a middleman only when
coupled with other facts indicating the defendant exercised some control over
others involved in the crime or was responsible for organizing others in carrying
out the operation”; finding harmless error).

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nothing. This standalone call was never connected to any hierarchical venture

which Mr. Johnson supposedly managed or supervised.137

       Then there is Karen Johnson. Although it would blink reality to dispute that

the marital relationship was marred by discord, the prosecutor’s references to that

at sentencing to justify a three-level role adjustment138 were gratuitous. Once

more, proof of Mr. Johnson’s involvement in any hierarchical enterprise with at

least five participants is lacking.

       Having influence in his wife’s life doesn’t validate this role increase.139 Nor

could it be justified by their sharing an apartment while he stored PCP and

paraphernalia, before he moved in with another woman—a role adjustment

demands more than a wife’s knowing what was going on. 140

       Lastly, urging Ms. Johnson on October 11, 2017, right after the West Coast

shipment had arrived, to take his weapon, cooler and bottles from the apartment

down to his car wouldn’t justify this bump. Their conversations that evening,


137
    Graham, 162 F.3d 1183-84 (“directing buyers to sellers does not constitute
management or supervision....”).
138
      (App:835-836).
139
     United States v. Jordan, 291 F.3d 1091, 1098 (9th Cir. 2002) (reversing
adjustment).
140
     United States v. Maloof, 205 F.3d 819, 830 (5th Cir. 2000) (“A finding that
other persons knew what was going on is not a finding that these persons were
criminally responsible for commission of an offense”).

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although painful reading from a domestic perspective, fully confirm that a

manager-supervisor adjustment was unjustified. He was moving to live with

someone who had borne his child. Ms. Johnson understandably was upset. Her

desire that he get his effects out is unmistakable.141

       Her taking a weapon and paraphernalia downstairs to the car perhaps

facilitated Mr. Johnson’s ability to do business—but more is needed to justify this

adjustment, as United States v. Mankiewicz exemplifies. 142 There, the defendant

recruited his father to help him, but his “directions” merely showed his father

where marijuana bales should be stacked, with a request to accompany an

informant to a motel where an informant would deal with the operation’s leader.

The Seventh Circuit found this was not the sort of “real and direct influence, aimed

at furthering the criminal activity” for which the enhancement was intended. 143

       Similarly, the Fourth Circuit rejected a leadership enhancement based on a

narcotics dealer’s having a chauffeur driving him to his buyers. 144 That the dealer

presumably routinely told his driver where to take him was deemed insufficient,


141
      (App:453-461 & 733-734, 739-740, 745-748, 751-754, 755-757).
142
     122 F.3d 399 (7th Cir. 1997). See also Holden, 908 F.3d at 403 (defendant’s
giving third party instructions for sending investors’ funds to scam was “best
characterized as ‘facilitation’ rather than ‘organization’”) (cleaned up).
143
      122 F.3d at 405-406 (citation omitted).
144
      Burnley, 988 F.3d at 188 (citing Slade, 631 F.3d at 190-191).

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just as Mr. Johnson’s statement to his wife amidst the deterioration of their

relationship should be construed.

        These decisions further confirm that the manager-supervisor adjustment

should be vacated.

III.    Imposing an enhancement for making a credible threat of violence was
        error. The context of Mr. Johnson’s statements shows they were borne
        of frustration, not intimidation.

        Mr. Johnson opposed the Government and the Probation Office’s

recommending a two-point offense level adjustment under U.S.S.G. § 2D1.1(b)(2)

for making credible threats to use violence incident to the underlying narcotics

offense. 145 When imposing the enhancement, the Trial Judge paraphrased three of

Mr. Johnson’s remarks captured on wiretaps and pronounced them credible

threats.146 This decision was erroneous.

        First, Mr. Johnson never directly threatened anyone or asked anybody to do

that. The prosecutor, Probation Officer and Trial Judge never appreciated that his

remarks were an uneducated laborer’s expressions of frustration.

        Second, no contemporaneous evidence suggested Mr. Johnson intended

harm. Those to whom he spoke never deemed his statements as meaningful

threats. The agents recognized that after making the first statement he never varied


145
       Compare (App:890-891, 897; 814-815) with (App:790-791).
146
       (App:832-834).

                                           47
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his normal routine. And his wife’s reaction to the last voluble comment was to

laugh about it.

      Third, the District Court used Mr. Johnson’s 2003 ADW conviction to infer

that he possessed the intent to harm in 2017. The prior offense’s circumstances are

a world apart. He and another man had squabbled over a woman’s affections.

However, the judge took the unreliable step of employing a long-ago unrelated bad

act to infer bad character.

      A.     Standard of review

      Legal questions presented in § 2D1.1(b)(2) appeals are reviewed de novo,

factual findings are examined for clear error, and deference is given to district

courts’ application of the guidelines to the facts. 147

      B.     Mr. Johnson never threatened to harm anyone.

      Because the District Judge never considered the challenged statements’

contexts and then factored in inapposite propensity evidence, the Court should

review this claim de novo and vacate the adjustment.




147
    United States v. Pineda-Duarte, 933 F.3d 519, 522 (6th Cir. 2019); United
States v. Kirk Tang Yuk, 885 F.3d 57, 82 (2d Cir. 2019); United States v. Sykes,
854 F.3d 457 459, 461 (8th Cir. 2017).

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              1.       The sentencing proceedings

       On August 27, 2017—when Mr. Johnson’s business was “‘hurting like

shit’”148—he told Prailow about being “fucked up” “waiting” on the West Coast

shipment. Mr. Johnson said that he had “no money” and “might gotta slide up on

this lil nigga [who] owe 2800.” If the man did not honor a promise to pay “in a

couple of days,” then “by Monday, man, Imma lay it up on this little dude. Imma

strap up, and slide up on [S]horty man. Be like [S]horty come on in man.”149

Defense counsel argued that given the conversation’s tenor this statement wasn’t a

credible threat. 150

       On September 8, 2017, Mr. Johnson and Jamar Gage’s brother, Makel Gage,

were reviewing the dearth of supply. Mr. Johnson was upset with a 30-day

eviction notice. Pointing out that he had “like four, five thousand in the streets,” he

mentioned “a nigga up Clay Terrace, shawty [sic], owe 3000 man. I’m on his ass

bruh. You feel me? I ain’t pay my car notes or nothing. I just seen him, he talking

about he (U/I).… Shawty gonna make me punch him in the mouth with that gun.

Imma go to his mother first because his mother live up there. And say tell your




148
      (App:809).
149
      (App:687-689). See also (App:809-810, 890-897).
150
      (App:791).

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son give my money man.”151 At sentencing, Mr. Johnson contended that this

comment could be inferred as meaning that he would go by Shorty’s mother’s

house to find him and that the aside about punching him was equivocal. 152

       c. On October 11, 2017, amidst a flurry of late-night telephone calls and

texts, Mr. Johnson called his wife and entreated her to allow him to return to their

apartment. After she hung up, he called back. After she picked up the receiver, he

said “Yeah yeah yeah yeah yeah yeah yeah yeah. You better not have no nigga in

there around my shit! I’m a kill his ass! On my life! Kill his ass!” 153 Mr. Johnson

submitted that he was upset about another man possibly having sexual relations

with his wife at their former marital abode and that these words were hyperbole. 154

       In summarizing, defense counsel stated that Mr. Johnson had “made some

statements in the heat of the moment, in the context of what was going on in his

life in those days, but there’s no evidence that those threats were actually genuine

or that they were carried out in some force or manner.”155 However, the District

Court found each statement a credible threat, and that Appellant’s “history and


151
      (App:727-728). See also (App:810; 890, 897).
152
      (App:790).
153
      (App:741-742). See also (App:810; 891, 897).
154
      (App:791).
155
      (App:832).

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convictions for assault, including shooting an individual earlier on in his life, as

well as assaults on other individuals and showing a history of violence, lend

credibility to those statements that he gave at the that time that he would use

violence to effect his drug practices and drug trafficking that he was doing.” 156

       This decision never addressed these communications’ context and depended

on an unreliable inference from an ancient unrelated other bad act.

             2.     Mr. Johnson’s speech and the contemporaneous evidence
                    undermines any threat theory.

       The District Judge never recognized that Mr. Johnson is the product of a

broken, drug-infested home, withdrew from the eleventh grade while failing school

and never attained a GED.157 His texts and wiretaps—attached within the

Appendix—confirm that his lingo mirrors his background. 158 He never confronted

anyone nor asked anyone else to do so and nobody who heard his statements

indicated that he’d made a credible threat.

       a. Mr. Johnson’s two calls during which he mentioned Shorty centered on

Mr. Johnson’s inability to meet living expenses. The discussions never fleshed out

a plan to intimidate Shorty. Tellingly, when seeking to extend the wiretap on Mr.



156
      (App:832-833).
157
      (App:918-919, 924).
158
      See generally (App:660-772).

                                          51
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Johnson, the FBI informed Judge Contreras of Mr. Johnson’s aside to Prailow and

conceded that “[a]lthough JOHNSON stated he would ‘strap up’ and approach the

individual on Monday (August 28th), law enforcement investigation confirmed that

JOHNSON kept his usual routine that day. The agents are not aware of any

attempt by JOHNSON to carry out any act of violence.”159

       b. The September 8th telephone call with Makel Gage (App:727-728)

reveals Mr. Johnson as being of two minds about Shorty. On one hand, he

pondered over what he could do if Shorty continued being evasive; on the other

hand, he mused over approaching Shorty’s mother as a conduit to collect on a debt.

Nowhere did Mr. Johnson commit himself to any course or ask Gage to do it,

however. Indeed, the notion that Mr. Johnson intended to involve Shorty’s mother

is implausible. That would have brought a needless third-party into his affairs—

which the agents recognized as secretive. 160

       In seeking to extend the wiretapping, the officers never asserted that Mr.

Johnson’s discussion with Gage included a tangible threat.161 Nor did they present




159
      (App:171) (referring to App:687-689).
160
    Mr. Johnson had remonstrated with Gage for trying to bring along Tabron to a
meeting. (App:183).
161
      (App:177-178).

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surveillance evidence suggesting that Mr. Johnson had approached Shorty or his

mother.

       c. The October 11th communications between Mr. and Ms. Johnson also

betrays any later-coined conception that he’d genuinely intended to harm anybody.

Never did she express the outrage to be expected had he threatened anyone.

Indeed, their penultimate call was marked by her laughing while they reprised his

earlier salty remarks; their last call ended with her telling him “Love you.”162 And

later she wrote a letter of support at sentencing,163 which also is at odds with the

idea that she considered him to have threatened her or any guest.

       C.    Discussion

       Coupling the § 2D1.1(b)(2) caselaw with these conversations’ contexts

demonstrates this adjustment’s error.

       A defendant’s offense level may be increased by two levels for making “a

credible threat to use violence . . . during a drug trafficking offense.”164 Because




162
    (App:745-748, 749-750, 751-754, 755-757 (reporting laughter at page 1), 762-
763).
163
      (App:817).
164
      U.S.S.G. § 2D1.1(b)(2).

                                          53
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the Guidelines and comments do not define a “credible threat,” “dictionaries can

fill the interpretative gap.” 165

       A “threat” means “a declaration of one’s purpose or intention to work injury

to the person, property, or rights of another. A threat has been defined to be any

menace of such a nature and extent as to unsettle the mind of the person on whom

it operates, and to take away from his acts that free, voluntary action which alone

constitutes consent.”166 Section 2D1.1(b)(2) demand that a threat be “credible”

also is consistent with the law: a true threat requires proof of the speaker’s

subjective intent to harm a victim.167

       Mr. Johnson’s patois contained no credible threats.

              1.     The credible threat adjustment typically requires corroboration.

       The common thread of appellate decisions construing § 2D1.1(b)(2)

adjustments is contextual evidence that a drug trafficker genuinely threatened




165
     United States v. Jaimes-Molina, 2015 WL 4254459, *4 (N.D. Ind., Sept. 9,
2019) (citing United States v. Pineda-Duarte, 933 F.3d 519, 523 (6th Cir. 2019)
(quoting from WEBSTER’S NEW INTERNATIONAL DICTIONARY and BLACK’S LAW
DICTIONARY)).

166
      BLACK’S LAW DICTIONARY ONLINE (2d ed.) (available at
file:///C:/Users/sleckar/AppData/Local/Microsoft/Windows/INetCache/Content.Ou
tlook/1K4HRKGJ/What%20is%20THREAT_%20definition%20of%20THREAT
%20(Black’s%20Law%20Dictionary).pdf) (last accessed May 24, 2022).
167
      Elonis v. United States, 135 S. Ct. 2001, 575 U.S. 723 (2015).

                                          54
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somebody and/or sought to use another to convey that message and personally or

through a proxy intended to use violence. 168

       One representative case is United States v. Kirk Tang Yuk, where the

appellant spoke about killing witnesses and then procured others to approach them

and to relay messages from him, hardly “‘mere puffery.’”169 United States v.

Lewis-Zubkin upheld an adjustment where the appellant followed up threats by

paying a co-conspirator to beat up perceived cooperators.170 In United States v.

Sykes, the defendant said he intended to shoot a perceived thief and then

confronted that individual with a firearm.171 Similarly, in United States v. Perez

the appellants brazenly threatened people to their face.172 That’s missing here.

       The unreported opinions have also scrutinized the contemporaneous

circumstances to confirm that a later-questioned statement wasn’t hyperbole. For

instance, in United States v. Seagers, witnesses testified that the appellant had

threatened potential witnesses, tried to bribe one to disappear, and sought to hire


168
     United States v. Price, 409 F.3d 436, 444 (D.C. Cir. 2005) (prosecution’s
burden “is triggered whenever a defendant disputes the factual assertions in the
[Presentence] report.”).
169
      Kirk Tang Yuk, 885 F.3d at 82-83 (cleaned up).
170
      907 F.3d 1103, 1104 (8th Cir. 2018).
171
      854 F.3d 457, 460-461 (8th Cir. 2017).
172
      962 F.3d 420, 451 (9th Cir. 2020).

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someone to kill witnesses.173 The defendant in United States v. Cantu confronted

the arresting officer with statements that the “Texas Mexihan Mafia” possessed

personal information about him and recommended he cover his face when making

arrests.174 In United States v. Barrera, the defendant directly threatened to kill an

informant. 175 And United States v. Fernandez upheld an enhancement where the

appellant shot a victim who resisted using their apartment for drug operations, and

then warned a building superintendent who’d notified police of the drug activity

that he would “go up in there and would stab everybody up.”176

       Other unreported cases presented ample corroboration of intent. In United

States v. White, the defendant urged fellow gang members to commit violence.177

In United States v. Redifer, the appellant brandished a weapon when collecting

drug debts. 178 And in United States v. Walker, the appellant threatened to kill a co-




173
     2021 WL 4306117, *2 (4th Cir. Sept. 22, 2021). See also United States v.
Thomas, 33 Fed. App’x. 782, 787-788 (11th Cir. 2020) (armed defendant
confronted rival dealer).
174
      765 Fed. App’x 111, 111 (5th Cir. 2019).
175
      697 Fed. App’x 373, 374 (5th Cir. 2017).
176
      636 Fed. App’x 71, 74 (2d Cir. 2016).
177
      621 Fed. App’x 889, 893 (9th Cir. 2015).
178
      631 Fed. Appx. 548, 563-564 (10th Cir. 2015).

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conspirator and her daughter, punched her in the neck, and said he’d hurt another

coconspirator if she wouldn’t destroy evidence.179

      No similar corroboration appears here.

             2.     The circumstances surrounding Mr. Johnson’s remarks were
                    equivocal and the evidence which the Trial Judge invoked was
                    an unreliable marker of intent.

      As we have seen, Mr. Johnson’s offhanded statements to Prailow and Makel

Gage about hitting Shorty or visiting Shorty’s mother were made amidst

bellyaching over finances and empty stock. They reflect his penchant for using the

vernacular in speaking. His correspondents didn’t intimate that they’d heard a true

threat. And the prosecution never asserted that he had deviated from his normal

routine after mentioning his frustration with Shorty. Nor did Karen Johnson’s

behavior on October 11th bespeak fear—later that evening she laughed while

reprising his earlier statements. She would know him better than anyone; if she

hadn’t perceived his excited remark as a threat, then it is quite the stretch for others

to have done so.

      The adjustment cannot be saved by looking to Mr. Johnson’s “history of

violence” and “convictions for assault, including shooting an individual earlier on




179
     578 Fed. App’x 812, 820 (11th Cir. 2014). See also United States v.
Resterhouse, 685 Fed. App’x. 436, 439-440 (6th Cir. 2017) (appellant solicited
informant to kill co-conspirator).

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in his life….” 180 Because the District Court focused on Mr. Johnson’s long-ago

ADW conviction, we will follow suit.

       That case arose from a 2001 confrontation over a woman’s affections.181 Its

usefulness to gauge intent animating statements made sixteen years later under

greatly differing circumstances is vanishingly slim, for typically “the doing of

similar acts” (or here, one act) is not relevant to the doing of a particular act.182

       Relying on an ADW conviction arising from a failed romance elides the

principle that prior offenses shouldn’t be used to infer a predisposition to commit

the crime charged.183 If anything, “prior crimes involving deliberate and carefully

premeditated intent—such as fraud and forgery—are far more likely to have

probative value with respect to later acts than prior crimes involving a quickly and

spontaneously formed intent—such as assault in the case before us.”184



180
      (App:833).
181
      (App:903-904).
182
      2 J. WIGMORE, EVIDENCE § 304 at 249-251 (Chadbourn rev. 1979).
183
     Martin v. United States, 127 F.2d 865, 866 (D.C. Cir. 1942). Martin is a
“leading authority in this jurisdiction” on excluding other crimes evidence. Drew
v. United States, 331 F.2d 85, 94 n. 7 (D.C. Cir. 1964).
184
     United States v. San Martin, 505 F.2d 918, 922-923 (5th Cir. 1974) (Tuttle, J).
Cf., United States v. Bettencourt, 614 F.2d 214, 217 (9th Cir.1980) (“showing of
intent to assault on an earlier occasion proves little, if anything, about an intent to
assault at some later time.”).

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       Nor is it sound to rely on dissimilar events that occurred years before. 185 As

this court has observed, a decade-old conviction’s “staleness … reduces its

probative value such that it is ‘substantially outweighed’ by the danger of unfair

prejudice already inherent in the admission of prior-bad-act evidence.”186

       These precepts coalesce here. Although the Federal Rules of Evidence don’t

apply to sentencing, 187 a sentence demands reliable supporting information.188 The

Trial Judge tacked propensity character evidence onto facially equivocal

surrounding circumstances. But propensity evidence is a form of character

evidence and the “[r]ampant use of character constructs—[in] sentencing, and

parole—is especially troubling in relation to accuracy and justice, inasmuch as

people ordinarily perform poorly at empirically judging the character of strangers.




185
    San Martin, 505 F.2d at 922-923 (reversible error to admit decade-old assault
convictions).
186
      United States v. Sheffield, 832 F.3d 296, 307-309 (D.C. Cir. 2016) (stale PCP
distribution conviction inadmissible to show knowledge and intent at trial for
similar crime; but harmless error).
187
      Rule 1101(d)(3), F. R. Evid.
188
     United States v. Miele, 989 F.2d 659, 663-664 (3d Cir. 1993) (remanding;
faulty drug quantity finding).

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Evaluations tend to be misguided and often incorrect. Character constructs

themselves may be unstable over time and over different situations.”189

       “A sentencing court acts unreasonably if it commits legal error in the

process of taking the Guidelines or other factors into account” 190 and “regardless

of length, a sentence based on an error of law is per se unreasonable.” 191 The

District Court’s failure to analyze the contested statement’s contemporaneous

contexts and reliance on legally unsound and combustible character evidence was

reversible error.




189
     Robert J. Sampson & L. Ash Smith, Rethinking Criminal Propensity and
Character: Cohort Inequalities and the Power of Social Change, 50 CRIME AND
JUSTICE: A REVIEW OF RESEARCH 13, 40 (2021).

190
      United States v. Bras, 483 F.3d 103, 106 (D.C.Cir.2007) (cleaned up).
191
      United States v. Price, 409 F.3d 436, 442 (D.C. Cir. 2005).

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                                  Conclusion

      The cause should be remanded for resentencing.

                            Respectfully submitted,

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Dated: September 6, 2022                     /s/ Stephen C. Leckar
                                             Counsel for Appellant
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      I hereby certify that on this 6th day of September, 2022, I caused this Brief

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                                             /s/ Stephen C. Leckar
                                             Counsel for Appellant
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U.S.S.G. § 2D1.1............................................................................................... Add. 1

U.S.S.G. § 3B1.1 ............................................................................................... Add. 3

U.S.S.G. § 2D1.1(b)(2) ..................................................................................... Add. 3




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                                        Appendix

      I.       U.S. Constitution, Amdt. 5

      No person shall ... be deprived of life, liberty, or property, without due process
      of law

      II.     Sentencing Guidelines

              § 2D1.1. Unlawful Manufacturing, Importing, Exporting, or
              Trafficking (Including Possession with Intent to Commit These
              Offenses); Attempt or Conspiracy.

(a)         Base Offense Level (Apply the greatest):

                                            ***

(5)    the offense level specified in the Drug Quantity Table set forth in
subsection (c), except that if (A) the defendant receives an adjustment under
§3B1.2 (Mitigating Role); and (B) the base offense level under subsection (c) is (i)
level 32, decrease by 2 levels; (ii) level 34 or level 36, decrease by 3 levels; or (iii)
level 38, decrease by 4 levels. If the resulting offense level is greater than level 32
and the defendant receives the 4-level (“minimal participant”) reduction in
§3B1.2(a), decrease to level 32.

(c) DRUG QUANTITY TABLE
                                                                             Base
      Controlled Substances and Quantity*                                    Offense
                                                                             Level




      (4) • At least 3 KG but less than 10 KG of Heroin;                     Level 32
          • At least 15 KG but less than 50 KG of Cocaine;
          • At least 840 G but less than 2.8 KG of Cocaine Base;




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      • At least 3 KG but less than 10 KG of PCP, or
          at least 300 G but less than 1 KG of PCP (actual);
      • At least 1.5 KG but less than 5 KG of Methamphetamine, or
          at least 150 G but less than 500 G of Methamphetamine
      (actual), or
          at least 150 G but less than 500 G of “Ice”;
      • At least 1.5 KG but less than 5 KG of Amphetamine, or
          at least 150 G but less than 500 G of Amphetamine (actual);
      • At least 30 G but less than 100 G of LSD;
      • At least 1.2 KG but less than 4 KG of Fentanyl (N-phenyl-N-
      [1-(2-phenylethyl)-4-piperidinyl] Propanamide);
      • At least 300 G but less than 1 KG of a Fentanyl Analogue;
      • At least 3,000 KG but less than 10,000 KG of Marihuana;
      • At least 600 KG but less than 2,000 KG of Hashish;
      • At least 60 KG but less than 200 KG of Hashish Oil;
      • At least 3,000,000 but less than 10,000,000 units of Ketamine;
      • At least 3,000,000 but less than 10,000,000 units of Schedule I
      or II Depressants;
      • At least 187,500 but less than 625,000 units of Flunitrazepam;
      • At least 3,000 KG but less than 10,000 KG of Converted Drug
      Weight.

   (5) • At least 1 KG but less than 3 KG of Heroin;                   Level 30
       • At least 5 KG but less than 15 KG of Cocaine;
       • At least 280 G but less than 840 G of Cocaine Base;
       • At least 1 KG but less than 3 KG of PCP, or
           at least 100 G but less than 300 G of PCP (actual);
       • At least 500 G but less than 1.5 KG of Methamphetamine, or
           at least 50 G but less than 150 G of Methamphetamine
       (actual), or
           at least 50 G but less than 150 G of “Ice”;
       • At least 500 G but less than 1.5 KG of Amphetamine, or
            at least 50 G but less than 150 G of Amphetamine (actual);
       • At least 10 G but less than 30 G of LSD;
       • At least 400 G but less than 1.2 KG of Fentanyl (N-phenyl-N-
       [1-(2-phenylethyl)-4-piperidinyl] Propanamide);
       • At least 100 G but less than 300 G of a Fentanyl Analogue;
       • At least 1,000 KG but less than 3,000 KG of Marihuana;
       • At least 200 KG but less than 600 KG of Hashish;




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      • At least 20 KG but less than 60 KG of Hashish Oil;
      • At least 1,000,000 but less than 3,000,000 units of Ketamine;
      • At least 1,000,000 but less than 3,000,000 units of Schedule I
      or II Depressants;
      • At least 62,500 but less than 187,500 units of Flunitrazepam;
      • At least 1,000 KG but less than 3,000 KG of Converted Drug
      Weight.



         § 3B1.1.    Aggravating Role

Based on the defendant’s role in the offense, increase the offense level as follows:
(a) If the defendant was an organizer or leader of a criminal activity that involved
five or more participants or was otherwise extensive, increase by 4 levels.
(b) If the defendant was a manager or supervisor (but not an organizer or leader)
and the criminal activity involved five or more participants or was otherwise
extensive, increase by 3 levels.
(c) If the defendant was an organizer, leader, manager, or supervisor in any
criminal activity other than described in (a) or (b), increase by 2 levels
           § 2D1.1(b)(2). Threat

         (b) Specific Offense Characteristics

                                             ***

           (2) If the defendant used violence, made a credible threat to use
         violence, or directed the use of violence, increase by 2 levels.




                                        Add. 3
